                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  3:11-CR-00337-RJC

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )
   v.                                                )                      ORDER
                                                     )
EVELYN CHANTELL LACHAPELLE (7),                      )
NATALIA CHRISTINA WADE (8),                          )
                                                     )
                       Defendant.                    )
                                                     )

        THIS MATTER is before the Court upon motion of the defendant EVELYN

CHANTELL LACHAPELLE for a continuance of her sentencing hearing from March 25, 2015,

to which the government does not object. (Doc. No. 535).

        For the reasons stated in the defendant’s motion, the Court finds good cause for a

continuance in this matter. Co-defendant Natalia Christina Wade does not object to her

sentencing hearing being continued as well, (Id. at ¶ 7), and the Court finds it is in the interest of

justice to hold both hearings on the same date.

        IT IS, THEREFORE, ORDERED that the above captioned sentencing hearings be

continued to a date to be announced by separate order.

        The Clerk is directed to certify copies of this order to the defendants, counsel for the

defendants, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.



                                                Signed: March 3, 2015




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